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   Rennicea Wright
11
12
13                        UNITED STATES DISTRICT COURT
14                     SOUTHERN DISTRICT OF CALIFORNIA
15
16 Rennicea Wright,                        Case No.: '13CV2821 L   BGS
17
                  Plaintiff,               COMPLAINT FOR DAMAGES
18                                         1. VIOLATION OF FAIR DEBT
19       vs.                               COLLECTION PRACTICES ACT,
                                           15 U.S.C. § 1692 ET. SEQ;
20 Midland Credit Management, Inc.; and    2. VIOLATION OF FAIR DEBT
21 DOES 1-10, inclusive,                   COLLECTION PRATICES ACT,
                                           CAL.CIV.CODE § 1788 ET. SEQ;
22                Defendants.              3. VIOLATION OF TELEPHONE
23                                         CONSUMER PROTECTION ACT,
                                           47 U.S.C. § 227 ET.SEQ.
24
25                                         JURY TRIAL DEMANDED

26
27
28
                                                       COMPLAINT FOR DAMAGES
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 1         For this Complaint, the Plaintiff, Rennicea Wright, by undersigned counsel,
 2
     states as follows:
 3
 4                                       JURISDICTION

 5         1.     This action arises out of Defendants’ repeated violations of the Fair Debt
 6
     Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), repeated violations of
 7
     the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), and the
 8
 9 invasions of Plaintiff’s personal privacy by the Defendants and its agents in their
10
     illegal efforts to collect a consumer debt.
11
           2.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.
12
13         3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
14
     Defendants transact business here and a substantial portion of the acts giving rise to
15
16 this action occurred here.
17                                          PARTIES
18         4.     The Plaintiff, Rennicea Wright (hereafter “Plaintiff”), is an adult
19
     individual residing in Deerfield, Florida, and is a “consumer” as the term is defined by
20
21 15 U.S.C. § 1692a(3).
22         5.     The Defendant, Midland Credit Management, Inc. (hereafter “Midland”),
23
     is a company with an address of 8875 Aero Drive, Suite 200, San Diego, California
24
25 92123, operating as a collection agency, and is a “debt collector” as the term is
26 defined by 15 U.S.C. § 1692a(6).
27
28
                                                   2            COMPLAINT FOR DAMAGES
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 1         6.     Does 1-10 (the “Collectors”) are individual collectors employed by
 2
     Midland and whose identities are currently unknown to the Plaintiff. One or more of
 3
 4 the Collectors may be joined as parties once their identities are disclosed through
 5 discovery.
 6
         7.       Midland at all times acted by and through one or more of the Collectors.
 7
 8                   ALLEGATIONS APPLICABLE TO ALL COUNTS
 9 A.      The Debt
10
           8.     A person other than Plaintiff (the “Debtor”) allegedly incurred a financial
11
     obligation (the “Debt”) to T-Mobile (the “Creditor”).
12
13         9.     The Debt arose from services provided by the Creditor which were
14
     primarily for family, personal or household purposes and which meets the definition
15
16 of a “debt” under 15 U.S.C. § 1692a(5).
17         10.    The Debt was purchased, assigned or transferred to Midland for
18
     collection, or Midland was employed by the Creditor to collect the Debt.
19
20         11.    The Defendants attempted to collect the Debt and, as such, engaged in

21 “communications” as defined in 15 U.S.C. § 1692a(2).
22
     B.    The Facts
23
24         12.    Within the last year, Midland contacted Plaintiff in an attempt to collect
25
     the Debtor in an effort to collect the Debt.
26
27
28
                                                3               COMPLAINT FOR DAMAGES
Case 3:13-cv-02821-MMA-MDD Document 1 Filed 11/27/13 PageID.4 Page 4 of 10



 1         13.    Midland called Plaintiff on her cellular telephone using an automatic
 2
     telephone dialing system (“ATDS”) and/or by using a prerecorded or artificial
 3
 4 message on a cellular telephone.
 5         14.    When Midland called Plaintiff, it used an automated voice prior to
 6
     connecting the calls to a live representative.
 7
 8         15.    Plaintiff does not know the Debtor and is no way responsible for the
 9 repayment of the Debt.
10
        16. On multiple occasions, Plaintiff answered Midland’s calls and informed
11
12 Midland that they were calling her personal cellular telephone and that the Debtor was
13 unknown to her and unreachable at her telephone number.
14
        17. Each time, Plaintiff instructed Midland to remove her telephone number
15
16 from the account and cease all communications with her.
17         18.    On one occasion, Midland responded that they would continue to place
18
     calls to Plaintiff unless she filed a police report against them.
19
20         19.    However, despite knowing the Debtor could not be reached at Plaintiff’s
21 number and ignoring Plaintiff’s multiple attempts to stop the calls, Midland continued
22
   calling Plaintiff in an attempt to collect the Debt at an annoying and harassing rate,
23
24 approximately twice per week for successive weeks.
25
26
27
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                                                 4                 COMPLAINT FOR DAMAGES
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 1                               COUNT I
 2       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. § 1692, et seq.
 3
           20.     The Plaintiff incorporates by reference all of the above paragraphs of this
 4
 5 Complaint as though fully stated herein.
 6
           21.     Defendants contacted Plaintiff after knowing the Debtor could not be
 7
     reached at her number, in violation of 15 U.S.C. § 1692b.
 8
 9         22.     Defendants engaged in behavior the natural consequence of which was to
10
     harass, oppress, or abuse the Plaintiff in connection with the collection of a debt, in
11
     violation of 15 U.S.C. § 1692d.
12
13         23.     The Defendants caused a phone to ring repeatedly and engaged the
14
     Plaintiff in telephone conversations, with the intent to annoy and harass, in violation
15
16 of 15 U.S.C. § 1692d(5).
17         24.     Defendants used an unfair and unconscionable means to collect the debt,
18
     in violation of 15 U.S.C. § 1692f.
19
20         25.     The foregoing acts and omissions of the Defendants constitute numerous

21 and multiple violations of the FDCPA, including every one of the above-cited
22
     provisions.
23
24         26.     The Plaintiff is entitled to damages as a result of the Defendants’

25 violations.
26
27
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                                                5                COMPLAINT FOR DAMAGES
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 1                              COUNT II
 2          VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION
                   PRACTICES ACT, Cal. Civ. Code § 1788 et seq.
 3
           27.    The Plaintiff incorporates by reference all of the above paragraphs of this
 4
 5 Complaint as though fully stated herein.
 6
           28.    The Rosenthal Fair Debt Collection Practices Act, California Civil Code
 7
     section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
 8
 9 practices in the collection of consumer debts.
10
           29.    Midland Credit Management, Inc., in the regular course of business,
11
     engages in debt collection and is a “debt collector” as defined by Cal. Civ. Code §
12
13 1788.2(c).
14
           30.    The Defendants caused a telephone to ring repeatedly and engaged the
15
16 Plaintiff in continuous conversations with an intent to annoy the Plaintiff, in violation
17 of Cal. Civ. Code § 1788.11(d).
18
           31.    The Defendants communicated with the Plaintiff with such frequency as
19
20 to be considered harassment, in violation of Cal. Civ. Code § 1788.11(e).
21         32.    The Defendants failed to comply with the provisions of 15 U.S.C. §
22
     1692, et seq., in violation of Cal. Civ. Code § 1788.13(e).
23
24         33.    The Defendants did not comply with the provisions of Title 15, Section

25 1692 of the United States Code, in violation of Cal. Civ. Code § 1788.17.
26
27
28
                                               6                   COMPLAINT FOR DAMAGES
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 1         34.     The Plaintiff is entitled to damages as a result of the Defendants’
 2
     violations.
 3
 4                              COUNT III
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
 5                         47 U.S.C. § 227, et seq.
 6
           35.     The Plaintiff incorporates by reference all of the above paragraphs of this
 7
     Complaint as though fully stated herein.
 8
 9         36.     Plaintiff never provided her cellular telephone number to Midland or the
10
     Creditor and never provided her consent to be contacted on her cellular telephone.
11
           37.     Without prior consent Midland placed automated calls to Plaintiff on her
12
13 cellular telephone without her consent in violation of 47 U.S.C. § 227(b)(1)(A)(iii).
14
           38.     Defendants continued to place automated calls to Plaintiff’s cellular
15
16 telephone after being advised multiple times they had the wrong number and knowing
17 there was no consent to continue the calls. As such, each call placed to Plaintiff was
18
     made in knowing and/or willful violation of the TCPA, and subject to treble damages
19
20 pursuant to 47 U.S.C. § 227(b)(3)(C).
21         39.     The calls from Midland to Plaintiff were not placed for “emergency
22
     purposes” as defined by 47 U.S.C. § 227(b)(1)(A)(i).
23
24         40.     Midland’s telephone system has the capacity to store numbers in a

25 random and sequential manner.
26
27
28
                                                7                COMPLAINT FOR DAMAGES
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 1         41.    As a result of each call made in negligent violation of the TCPA, Plaintiff
 2
     is entitled to an award of $500.00 in statutory damages for each call in violation of the
 3
 4 TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).
 5         42.    As a result of each call made in knowing and/or willful violation of the
 6
     TCPA, Plaintiff is entitled to an award of treble damages in an amount up to
 7
 8 $1,500.00 pursuant to 47 U.S.C. §PRAYER FOR RELIEF
 9
           WHEREFORE, the Plaintiff prays that judgment be entered against the
10
11 Defendants:
12
                  A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the
13
                     Defendants;
14
15                B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
16
                     against the Defendants;
17
18                C. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

19                   § 1692k(a)(3) against the Defendants;
20
                  D. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
21
22                E. Statutory damages of $1,000.00 for knowingly and willfully committing

23                   violations pursuant to Cal. Civ. Code § 1788.30(b);
24
                  F. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);
25
26                G. Actual damages from the Defendants for the all damages including

27                   emotional distress suffered as a result of the intentional, reckless, and/or
28
                                                8                 COMPLAINT FOR DAMAGES
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 1                negligent FDCPA violations and intentional, reckless, and/or negligent
 2
                  invasions of privacy in an amount to be determined at trial for the
 3
 4                Plaintiff;

 5             H. Punitive damages; and
 6
               I. Such other and further relief as may be just and proper.
 7
 8
                  TRIAL BY JURY DEMANDED ON ALL COUNTS
 9
10 DATED: November 27, 2013                     TAMMY HUSSIN
11
                                                By: /s/ Tammy Hussin
12                                              Tammy Hussin, Esq.
13                                              Lemberg & Associates, LLC
                                                Attorney for Plaintiff, Rennicea Wright
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                                            9                  COMPLAINT FOR DAMAGES
              Case 3:13-cv-02821-MMA-MDD Document 1 Filed 11/27/13 PageID.10 Page 10 of 10
JS 44 (Rev.    )                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                      DEFENDANTS

Rennicea Wright                                                                                      Midland Credit Management, Inc.

   (b) County of Residence of First Listed Plaintiff State of Florida                                  County of Residence of First Listed Defendant              County of San Diego
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                  THE TRACT OF LAND INVOLVED.


   (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
                                                                                                                                         '13CV2821 L                   BGS

II. BASIS OF JURISDICTION                        (Place an “X” in One Box Only)            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                   (For Diversity Cases Only)                                        and One Box for Defendant)
  1    U.S. Government                 3 Federal Question                                                                   PTF        DEF                                          PTF      DEF
         Plaintiff                         (U.S. Government Not a Party)                      Citizen of This State           1           1     Incorporated or Principal Place          4      4
                                                                                                                                                of Business In This State

  2    U.S. Government                 4 Diversity                                            Citizen of Another State            2         2   Incorporated and Principal Place         5       5
         Defendant                         (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                              Citizen or Subject of a             3         3   Foreign Nation                           6       6
                                                                                                Foreign Country
IV. NATURE OF SUIT                  (Place an “X” in One Box Only)
          CONTRACT                                         TORTS                                FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
  120 Marine                         310 Airplane                   365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                   400 State Reapportionment
  130 Miller Act                     315 Airplane Product               Product Liability        690 Other                                28 USC 157                   410 Antitrust
  140 Negotiable Instrument               Liability                 367 Health Care/                                                                                   430 Banks and Banking
  150 Recovery of Overpayment        320 Assault, Libel &               Pharmaceutical                                                PROPERTY RIGHTS                  450 Commerce
      & Enforcement of Judgment           Slander                       Personal Injury                                               820 Copyrights                   460 Deportation
  151 Medicare Act                   330 Federal Employers’             Product Liability                                             830 Patent                       470 Racketeer Influenced and
  152 Recovery of Defaulted               Liability                 368 Asbestos Personal                                             840 Trademark                        Corrupt Organizations
      Student Loans                  340 Marine                         Injury Product                                                                                 480 Consumer Credit
      (Excl. Veterans)               345 Marine Product                 Liability                         LABOR                       SOCIAL SECURITY                  490 Cable/Sat TV
  153 Recovery of Overpayment             Liability                PERSONAL PROPERTY             710 Fair Labor Standards             861 HIA (1395ff)                 850 Securities/Commodities/
      of Veteran’s Benefits          350 Motor Vehicle              370 Other Fraud                  Act                              862 Black Lung (923)                  Exchange
  160 Stockholders’ Suits            355 Motor Vehicle              371 Truth in Lending         720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))           890 Other Statutory Actions
  190 Other Contract                     Product Liability          380 Other Personal           740 Railway Labor Act                864 SSID Title XVI               891 Agricultural Acts
  195 Contract Product Liability     360 Other Personal                 Property Damage          751 Family and Medical               865 RSI (405(g))                 893 Environmental Matters
  196 Franchise                          Injury                     385 Property Damage              Leave Act                                                         895 Freedom of Information
                                     362 Personal Injury -              Product Liability        790 Other Labor Litigation                                                Act
                                         Med. Malpractice                                        791 Empl. Ret. Inc.                                                   896 Arbitration
      REAL PROPERTY                    CIVIL RIGHTS               PRISONER PETITIONS                 Security Act                     FEDERAL TAX SUITS                899 Administrative Procedure
  210 Land Condemnation              440 Other Civil Rights         510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff            Act/Review or Appeal of
  220 Foreclosure                    441 Voting                         Sentence                                                           or Defendant)                   Agency Decision
  230 Rent Lease & Ejectment         442 Employment                 Habeas Corpus:                                                    871 IRS—Third Party              950 Constitutionality of
  240 Torts to Land                  443 Housing/                   530 General                                                            26 USC 7609                     State Statutes
  245 Tort Product Liability             Accommodations             535 Death Penalty                 IMMIGRATION
  290 All Other Real Property        445 Amer. w/Disabilities -     540 Mandamus & Other         462 Naturalization Application
                                         Employment                 550 Civil Rights             463 Habeas Corpus -
                                     446 Amer. w/Disabilities -     555 Prison Condition             Alien Detainee
                                         Other                      560 Civil Detainee -             (Prisoner Petition)
                                     448 Education                      Conditions of            465 Other Immigration
                                                                        Confinement                  Actions

V. ORIGIN                (Place an “X” in One Box Only)
                                                                                                                   Transferred from
  1 Original              2 Removed from              3 Remanded from               4 Reinstated or           5 another district              6 Multidistrict
    Proceeding              State Court                    Appellate Court              Reopened                   (specify)                       Litigation
                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION    DEMAND $                                                       CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER F.R.C.P. 23               25,000.00                                                         JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                          (See instructions):
      IF ANY                                                      JUDGE                                                               DOCKET NUMBER

DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
11/27/2013
FOR OFFICE USE ONLY

 RECEIPT #                      AMOUNT                                  APPLYING IFP                                    JUDGE                           MAG. JUDGE
